                        TRANSCRIPT ORDER FORM ‐ DIRECTIONS ON THE REVERSE SIDE
                    Appellate Case: 23-1135 Document: 8 Date Filed: 05/10/2023 Page: 1
PART I ‐ To be completed by appellant within fourteen days of filing the notice of appeal.

Short Title: Griffith v. El Paso County, et al.             District Court Number: 21-cv-00387-CMA-NRN
District: District of Colorado                              Circuit Court Number: _ 23-1135
Name of Attorney/Pro Se Party: Andy McNulty                 Email Address: amcnulty@kln-lw.com
Name of Law Firm/Office: Killmer Lane & Newman, LLP Telephone: (303) 571-1000
Address: 1543 Champa Street, Suite 400, Denver, CO 80202
Attorney for: Darlene Griffith, Appellant/Plaintiff
Name of Court Reporter: N/A
Name of Court Reporter (if ordering from more than one):___________________________________
PART II‐ Complete SECTION A (if not ordering a transcript) or SECTION B (if ordering transcript(s)).

SECTION A ‐     I HAVE NOT ORDERED A TRANSCRIPT BECAUSE
                [X] A transcript is not necessary for this appeal;
                [] The necessary transcript is already on file in District Court; or
                [] The necessary transcript was ordered previously in appeal
                     number _____________________________________________

SECTION B ‐     I HEREBY ORDER THE FOLLOWING TRANSCRIPT(S):
                 (Specify the date and proceeding in the space below)

Voir dire:_____________________________________        Opening Statements:_______________________________
Trial proceedings: ___________________________         Closing Arguments:________________________________
Jury Instructions: ____________________________        Other Proceedings: _______________________________
Post-Trial Hearings: __________________________        Other Proceedings: ________________________________
                        (Attach additional pages if necessary)

          [] I will pay the cost of the transcript. My signature on this form is my agreement to pay for
              the transcript ordered on this form.

          [] This case is proceeding under the Criminal Justice Act.

             IF THIS APPEAL IS PROCEEDING UNDER THE CJA PLEASE NOTE YOU MUST ALSO TAKE ALL
             STEPS REQUIRED IN EVOUCHER IN ORDER TO COMPLETE PAYMENT ARRANGEMENTS.

NOTE: Leave to proceed in forma pauperis does not entitle appellant to a free transcript. An order of the district court
allowing payment for the transcript at government expense must be obtained. See 28 U.S.C. §753(f).
                                               CERTIFICATE OF COMPLIANCE
I certify that I have read the instructions on the reverse of this form and that copies of this transcript order form have
been served on the court reporter (if transcript ordered), the Clerk of U.S. District Court, all counsel of record or
pro se parties, and the Clerk of the U.S. Court of Appeals for the Tenth Circuit. I further certify that satisfactory
arrangements for payment for any transcript ordered have been made with the court reporter(s).

Signature of Attorney/Ordering Party:       /s/ Andy McNulty                           Date:     05/10/2023

PART III ‐    To be completed by the court reporter after satisfactory financial arrangements have been made.

Upon completion, please file one copy with the Clerk of the U.S. Court of Appeals and one copy with the Clerk of the U.S.
District Court.

Date arrangements for payment completed: ________________________
Estimated completion date: ___________________________________________
Estimated number of pages: ___________________________________________
I certify that I have read the instructions on the reverse side and that adequate arrangements for payment have been
made.

Signature of Court Reporter: _________________________________________                  Date:_________________________
